      Case 7:23-cr-00023-ACA-SGC Document 1 Filed 01/24/23 Page 1 of 3                      FILED
                                                                                   2023 Jan-25 PM 12:45
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                                                                       PFE/BLP: Feb. 2023
                                                                                   GJ#11
               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                    v.                              ) Case No.
                                                    )
DARTERRIUS DEWAYNE WASHINGTON                       )

                                 INDICTMENT

COUNT ONE: [18 U.S.C. § 922(o)(1)]

      The Grand Jury charges:

      That on or about the 25th day of October 2022, in Tuscaloosa County, within

the Northern District of Alabama, the defendant,

                 DARTERRIUS DEWAYNE WASHINGTON,

knowingly received and possessed a machinegun, commonly known as a Swift Link,

an AR-style machinegun conversion device, that is, a part designed or intended

solely and exclusively for use in converting a weapon into a machinegun, and also

knowingly received and possessed a machinegun, commonly known as a Glock

Switch, a Glock-style machinegun conversion device, that is, a combination of parts

designed and intended for use in converting a weapon into a machinegun, in

violation of Title 18, United States Code, Section 922(o)(1).
      Case 7:23-cr-00023-ACA-SGC Document 1 Filed 01/24/23 Page 2 of 3




COUNT TWO: [18 U.S.C. § 922(a)(1)(A)]

      The Grand Jury charges:

      That from on or about August 1, 2022, to on or about October 25, 2022, more

exact dates being otherwise unknown, in Tuscaloosa County, within the Northern

District of Alabama, the defendant,

                 DARTERRIUS DEWAYNE WASHINGTON,

not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18,

United States Code, did willfully engage in the business of dealing in firearms, in

violation of Title 18, United States Code, Section 922(a)(1)(A).


COUNT THREE: [26 U.S.C. § 5861(f)]

      The Grand Jury charges:

      That on or about the 5th day of October 2022, in Tuscaloosa County, within

the Northern District of Alabama, the defendant,

                 DARTERRIUS DEWAYNE WASHINGTON,

knowingly made a firearm, commonly known as a Swift Link, an AR-style

machinegun conversion device, that is, a part designed or intended solely and

exclusively for use in converting a weapon into a machinegun, and knowingly made

a firearm, commonly known as a Glock Switch, a Glock-style machinegun

conversion device, that is, a combination of parts designed and intended for use in

converting a weapon into a machinegun, which is a machinegun as defined pursuant
      Case 7:23-cr-00023-ACA-SGC Document 1 Filed 01/24/23 Page 3 of 3




to Title 26, United States Code, Sections 5845(a)(6) and (b), in violation of Title 26,

United States Code, Section 5861(f).


A TRUE BILL

/s/Electronic Signature
__________________________________
FOREPERSON OF THE GRAND JURY

                                                  PRIM F. ESCALONA
                                                  United States Attorney

                                                  /s/Electronic Signature
                                                  __________________________
                                                  BRITTNEY L. PLYLER
                                                  Assistant United States Attorney
